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                                            June 17, 2022

Honorable Judge Christopher M. Lopez
United States Bankruptcy Courts
Southern District of Texas
515 Rusk Ave.
Houston, TX 77002

Filed on ECF

Re: InfoW, LLC, et al.: Order Setting Status Conference (Case No. 22-60020)

To the Honorable Court:

        Reference is made to that certain Order Setting Status Conference on Parkins & Rubio LLP Motion
Filed At Docket No. 120 (“Status Conference Order”) filed on June 15, 2022. The Status Conference
Order states in relevant part that I, Charles Rubio, am ordered to appear in person for a status
conference to be held on Friday at 9:30 a.m. (CT).

         On June 15, 2022, after I saw the Status Conference Order, I booked a flight from New York
(LGA) to Houston (IAH) on June 16, 2022. The flight (UA 6118) was originally scheduled to depart
at 2:00 p.m. (ET). The flight was subject to several delays throughout the day on June 16, 2022. The
last delay I was aware of was for a scheduled departure at 8:45 a.m. (ET) on Friday, June 17, 2022. I
changed that flight to a flight that was then scheduled to depart at 11:00 p.m. on June 16, 2022 (UA
1268). This flight was then cancelled. I could not identify any other flight leaving the New York area
which would allow me to arrive in Houston on time for the status conference.

       Pursuant to the email I received from Ms. Saldaña yesterday evening, stating in relevant part:
“You can appear by phone & video, and the Court extends the same courtesy to the other parties
ordered to appear in person[,]” I will appear at the status conference by phone and video.

                                                       Very truly yours,




                                                       Charles M. Rubio
